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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


    BAHAMAS SALES ASSOCIATE, LLC,

            Plaintiff,

    v.                                                      Case No. 3:08-cv-1012-J-32JRK

    DONALD CAMERON BYERS, et al.

            Defendants.


                               RULE 54(b) JUDGMENT

            On August 31, 2017, the Court entered an Order granting summary judgment

    in favor of Defendants Edward R. Ginn, III, ERG Enterprises, LP, Lubert-Adler

    Management Company, LP, and Dean Adler as to both counts of the Fourth Amended

    Master Complaint. (Doc. 581). By Order of this same date, the Court granted the

    parties’ request that the Court enter a Rule 54(b) judgment in the main action. (Doc.

    584).

            Accordingly, it is hereby

            ORDERED AND ADJUDGED:

            Pursuant to Rule 54(b), finding that there is no just reason to delay the entry of

    final judgment on these claims,1 the Court hereby enters JUDGMENT in favor of




            Because the Court has disposed of all claims in the main action, the Court
            1

    finds that the balance of judicial administrative interests and the relevant equitable
    concerns weigh in favor of Rule 54(b) certification. See Ebrahimi v. City of Huntsville
    Bd. of Educ., 114 F.3d 162, 166 (11th Cir. 1997).
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    Defendants Edward R. Ginn, III, ERG Enterprises, LP, Lubert-Adler Management

    Company, LP, and Dean Adler and against Plaintiffs as to both counts of the Fourth

    Amended Master Complaint.

            DONE AND ORDERED in Jacksonville, Florida the 27th day of September,

    2017.




    sj
    Copies:

    Counsel of record




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